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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )   Chapter 11
                                                                   )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                         )   Case No. 23-11469 (BLS)
                                                                   )
                                  Debtors.                         )   (Jointly Administered)
                                                                   )   Re: Docket No. 293

    AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON OCTOBER 31,
    2023 AT 11:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
     BRENDAN L. SHANNON AT THE UNITED STATES BANKRUPTCY COURT FOR
     THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
         6TH FLOOR, COURTROOM NO. 1, WILMINGTON, DELAWARE 19801


                    THIS HEARING WILL BE CONDUCTED IN PERSON.
        Appearances at in-person court proceedings using Zoom are allowed only in the
      following circumstances: i. Counsel for a party or a pro se litigant files a responsive
     pleading and intends to make only a limited argument; ii. A party or a representative
     of a party is interested in observing the hearing; iii. A party is proceeding in a claims
        allowance dispute on a pro se basis; iv. An individual has a good faith reason to
           participate remotely and has obtained permission from chambers to do so;
            or v. Other extenuating circumstances that warrant remote participation
                                as may be determined by the Court.

    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                             Registration Link:

     https://debuscourts.zoomgov.com/meeting/register/vJItd-CgpzgvGEXe35fTFCHBXELQfCVOwqU




1
        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
2
   Amended items are indicated in bold.


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RESOLVED MATTERS:
1.      Motion of Debtors for Entry of Interim and Final Orders Authorizing the Debtors to (I)
        Continue to Perform Under Services Agreement with Medical Consultants, Inc. for Certain
        Transition Services, (II) Pay and Reimburse Related Fees and Expenses, and (III) Granting
        Related Relief [Filed: 9/19/23] (Docket No. 4)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Ad Hoc Committee and until October 26, 2023 at 4:00 p.m. (ET)
        for the Office of the United States Trustee and the Official Committee of Unsecured
        Creditors)

        Responses Received: Informal comments from the Office of the United States Trustee and
        the Official Committee of Unsecured Creditors.

        Related Documents:

        A.       [Signed] Interim Order Authorizing Debtors File Under Seal Certain Information
                 Related to Motion of Debtors for Entry of Interim and Final Orders Authorizing the
                 Debtors to (I) Continue to Perform Under Services Agreement with Medical
                 Consultants, Inc. for Certain Transition Services, (II) Pay and Reimburse Related
                 Fees and Expenses, and (III) Granting Related Relief [Filed: 9/21/23] (Docket No.
                 47)

        B.       [Signed] Interim Order Authorizing the Debtors to (I) Continue to Perform Under
                 Services Agreement with Medical Consultants, Inc. for Certain Transition Services,
                 (II) Pay and Reimburse Related Fees and Expenses, and (III) Scheduling a Final
                 Hearing, and (IV) Granting Related Relief [Filed: 9/21/23] (Docket No. 48)

        C.       Notice of Entry of Interim Order and Final Hearing Regarding Motion of Debtors
                 for Entry of Interim and Final Orders Authorizing the Debtors to (I) Continue to
                 Perform Under Services Agreement With Medical Consultants, Inc. for Certain
                 Transition Services, (II) Pay and Reimburse Related Fees and Expenses, and (III)
                 Granting Related Relief [Filed: 9/22/23] (Docket No. 55)

        D.       Certification of Counsel Regarding Motion of Debtors for Entry of Interim and
                 Final Orders Authorizing the Debtors to (I) Continue to Perform Under Services
                 Agreement with Medical Consultants, Inc. for Certain Transition Services, (II) Pay
                 and Reimburse Related Fees and Expenses, and (III) Granting Related Relief
                 [Filed: 10/27/23] (Docket No. 287)

        E.       [Signed] Final Order Authorizing the Debtors to (I) Continue to Perform
                 Under Services Agreement with Medical Consultants, Inc. for Certain
                 Transition Services, (II) Pay and Reimburse Related Fees and Expenses, and
                 (III) Scheduling a Final Hearing, and (IV) Granting Related Relief [Filed:
                 10/27/23] (Docket No. 294)




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        Status: The Court has entered the Order. No hearing is necessary.

2.        Debtors’ Motion for Entry of an Order: (I) Authorizing the Debtors to (A) File a
          Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
          Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors,
          and (C) Redact Certain Personally Identifiable Information for Individual Creditors; and
          (II) Granting Related Relief [Filed: 9/19/23] (Docket No. 5)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       [Signed] Interim Order: (I) Authorizing the Debtors to (A) File a Consolidated List
                 of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (B)
                 File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors, and
                 (C) Redact Certain Personally Identifiable Information for Individual Creditors;
                 and (II) Granting Related Relief [Filed: 9/21/23] (Docket No. 41)

        B.       Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion for
                 Entry of an Order: (I) Authorizing the Debtors to (A) File a Consolidated List of
                 Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (B)
                 File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors, and
                 (C) Redact Certain Personally Identifiable Information for Individual Creditors;
                 and (II) Granting Related Relief [Filed: 10/16/23] (Docket No. 238)

        C.       Certification of Counsel Regarding Debtors’ Motion for Entry of an Order: (I)
                 Authorizing the Debtors to (A) File a Consolidated List of Creditors in Lieu of
                 Submitting a Separate Mailing Matrix for Each Debtor, (B) File a Consolidated List
                 of the Debtors’ Thirty Largest Unsecured Creditors, and (C) Redact Certain
                 Personally Identifiable Information for Individual Creditors; and (II) Granting
                 Related Relief [Filed: 10/27/23] (Docket No. 288)

        D.       [Signed] Final Order: (I) Authorizing the Debtors to (A) File a Consolidated
                 List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
                 Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Unsecured
                 Creditors, and (C) Redact Certain Personally Identifiable Information for
                 Individual Creditors; and (II) Granting Related Relief [Filed: 10/27/23]
                 (Docket No. 295)

        Status: The Court has entered the Order. No hearing is necessary.

3.        Debtors Motion for Entry of an Order Authorizing Debtors to File Under Seal Certain
          Information Related to Motion of Debtors for Entry of Interim and Final Orders
          Authorizing the Debtors to (I) Continue to Perform Under Services Agreement With
          Medical Consultants, Inc. for Certain Transition Services, (II) Pay and Reimburse Related
          Fees and Expenses, and (III) Granting Related Relief [Filed: 9/19/23] (Docket No. 7)

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        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       [Signed] Interim Order Authorizing Debtors File Under Seal Certain Information
                 Related to Motion of Debtors for Entry of Interim and Final Orders Authorizing the
                 Debtors to (I) Continue to Perform Under Services Agreement with Medical
                 Consultants, Inc. for Certain Transition Services, (II) Pay and Reimburse Related
                 Fees and Expenses, and (III) Granting Related Relief [Filed: 9/21/23] (Docket No.
                 47)

        B.       Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion for
                 Entry of an Order Authorizing Debtors to File Under Seal Certain Information
                 Related to Motion of Debtors for Entry of Interim and Final Orders Authorizing the
                 Debtors to (I) Continue to Perform Under Services Agreement With Medical
                 Consultants, Inc. for Certain Transition Services, (II) Pay and Reimburse Related
                 Fees and Expenses, and (III) Granting Related Relief [Filed: 9/22/23] (Docket No.
                 56)

        C.       Certification of No Objection Regarding Debtors Motion for Entry of an Order
                 Authorizing Debtors to File Under Seal Certain Information Related to Motion of
                 Debtors for Entry of Interim and Final Orders Authorizing the Debtors to (I)
                 Continue to Perform Under Services Agreement With Medical Consultants, Inc. for
                 Certain Transition Services, (II) Pay and Reimburse Related Fees and Expenses,
                 and (III) Granting Related Relief [Filed: 10/27/23] (Docket No. 292)

        D.       [Signed] Final Order Authorizing Debtors File Under Seal Certain
                 Information Related to Motion of Debtors for Entry of Interim and Final
                 Orders Authorizing the Debtors to (I) Continue to Perform Under Services
                 Agreement with Medical Consultants, Inc. for Certain Transition Services, (II)
                 Pay and Reimburse Related Fees and Expenses, and (III) Granting Related
                 Relief [Filed: 10/27/23] (Docket No. 299)

        Status: The Court has entered the Order. No hearing is necessary.

4.      Debtors' Motion for Entry of an Order Authorizing Certain Procedures to Maintain
        Confidentiality of Protected Health Information as Required By Applicable Privacy Rules
        [Filed: 9/19/23] (Docket No. 13)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET) (extended until October 26, 2023
        at 4:00 p.m. (ET) for the Official Committee of Unsecured Creditors)

        Responses Received: None as of the date of this Notice of Agenda.


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        Related Documents:

        A.       [Signed] Interim Order Authorizing Certain Procedures to Maintain Confidentiality
                 of Protected Health Information as Required By Applicable Privacy Rules [Filed:
                 9/21/23] (Docket No. 42)

        B.       Notice of Entry of Interim Order an Final Hearing Regarding Debtors' Motion for
                 Entry of an Order Authorizing Certain Procedures to Maintain Confidentiality of
                 Protected Health Information as Required By Applicable Privacy Rules [Filed:
                 10/12/23] (Docket No. 113)

        C.       Certification of Counsel Regarding Debtors' Motion for Entry of an Order
                 Authorizing Certain Procedures to Maintain Confidentiality of Protected Health
                 Information as Required By Applicable Privacy Rules [Filed: 10/27/23] (Docket
                 No. 289)

        D.       [Signed] Final Order Authorizing Certain Procedures to Maintain
                 Confidentiality of Protected Health Information as Required By Applicable
                 Privacy Rules [Filed: 10/27/23] (Docket No. 296)

        Status: The Court has entered the Order. No hearing is necessary.

5.      Debtors’ Motion for an Order Authorizing Debtors to Exercise Their Ownership Rights
        over Trust Assets Currently Held in “Rabbi Trust” for the Debtors’ Nonqualified “Defined
        Contribution” Deferred Contribution Plans [Filed: 9/19/23] (Docket No. 16)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET) (extended until October 26, 2023
        at 4:00 p.m. (ET) for the Official Committee of Unsecured Creditors)

        Responses Received: Informal comments from the Official Committee of Unsecured
        Creditors.

        Related Documents:

        A.       [Proposed] Order Granting Debtors’ Motion for an Order Authorizing Debtors to
                 Exercise Their Ownership Rights over Trust Assets Currently Held in “Rabbi
                 Trust” for the Debtors’ Nonqualified “Defined Contribution” Deferred
                 Contribution Plans [Filed: 9/19/23] (Docket No. 16, Exhibit A)

        B.       Notice of Hearing on Debtors’ Motion for an Order Authorizing Debtors to
                 Exercise Their Ownership Rights over Trust Assets Currently Held in “Rabbi
                 Trust” for the Debtors’ Nonqualified “Defined Contribution” Deferred
                 Contribution Plans [Filed: 10/10/23] (Docket No. 104)

        C.       Certification of Counsel Regarding Debtors’ Motion for an Order Authorizing
                 Debtors to Exercise Their Ownership Rights over Trust Assets Currently Held in
                 “Rabbi Trust” for the Debtors’ Nonqualified “Defined Contribution” Deferred
                 Contribution Plans [Filed: 10/27/23] (Docket No. 290)

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        D.       [Signed] Order Granting Debtors’ Motion for an Order Authorizing Debtors
                 to Exercise Their Ownership Rights over Trust Assets Currently Held in
                 “Rabbi Trust” for the Debtors’ Nonqualified “Defined Contribution”
                 Deferred Contribution Plans [Filed: 10/27/23] (Docket No. 297)

        Status: The Court has entered the Order. No hearing is necessary.

6.      Debtors’ Motion for Entry of Interim and Final Orders: (I) Authorizing the Payment of
        Certain Taxes and Fees and (II) Granting Related Relief [Filed: 9/19/23] (Docket No. 12)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Ad Hoc Committee, until October 26, 2023 at 4:00 p.m. (ET) for
        the Office of the United States Trustee, and until October 27, 2023 at 12:00 p.m. (ET) for
        the Official Committee of Unsecured Creditors)

        Responses Received: Informal comments from the Official Committee of Unsecured
        Creditors

        Related Documents:

        A.       [Signed] Interim Order (I) Authorizing the Payment of Certain Taxes and Fees and
                 (II) Granting Related Relief [Filed: 9/21/23] (Docket No. 44)

        B.       Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion for
                 Entry of Interim and Final Orders: (I) Authorizing the Payment of Certain Taxes
                 and Fees and (II) Granting Related Relief [Filed: 9/22/23] (Docket No. 57)

        C.       Certification of Counsel Regarding Debtors’ Motion for Entry of Interim and Final
                 Orders: (I) Authorizing the Payment of Certain Taxes and Fees and (II) Granting
                 Related Relief [Filed: 10/27/23] (Docket No. 291)

        D.       [Signed] Final Order (I) Authorizing the Payment of Certain Taxes and Fees
                 and (II) Granting Related Relief [Filed: 10/27/23] (Docket No. 298)

        Status: The Court has entered the Order. No hearing is necessary.

CONTESTED MATTERS:

7.      Motion of the Debtors Pursuant to Sections 105, 361, 362, 363, and 507 of the Bankruptcy
        Code, Bankruptcy Rule 4001, and Local Rule 4001-2 for Interim and Final Orders (A)
        Authorizing Debtors to Use Cash Collateral, (B) Granting Adequate Protection to
        Prepetition Secured Parties, (C) Modifying the Automatic Stay, and (D) Scheduling a Final
        Hearing [Filed: 9/19/23] (Docket No. 10)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee) (extended until October 27, 2023 at
        11:00 a.m. (ET) for counsel to Sapientes)

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        Responses Received:

        A.       Limited Objection and Reservation of Rights Regarding Debtors’ Motion for Final
                 Order (I) Authorizing the Use of Cash Collateral and (II) Granting Adequate
                 Protection to Prepetition Secured Parties [Filed: 10/11/23] (Docket No. 105)

        B.       Objection of Pendrick Capital Partners, LLC to Motion of the Debtors Pursuant to
                 Sections 105, 361, 362, 363, and 507 of the Bankruptcy Code, Bankruptcy Rule
                 4001, and Local Rule 4001-2 for Interim and Final Orders (A) Authorizing Debtors
                 to Use Cash Collateral, (B) Granting Adequate Protection to Prepetition Secured
                 Parties, (C) Modifying the Automatic Stay, and (D) Scheduling a Final Hearing
                 [Filed: 10/11/23] (Docket No. 108)

        C.       Limited Objection to: (I) The Debtors' Cash Collateral Motion and (II) The Debtors'
                 Combined Disclosure Statement and Plan [Filed 10/27/23] (Docket No. 285)

        D.       Informal comments from the Office of the United States Trustee

        Related Documents:

        A.       [Signed] Interim Order: (I) Authorizing the Use of Cash Collateral, (II) Granting
                 Adequate Protection to Prepetition Secured Parties, (III) Scheduling a Final
                 Hearing and (IV) Granting Related Relief [Filed: 9/21/23] (Docket No. 50)

        B.       Notice of Hearing on Motion of the Debtors Pursuant to Sections 105, 361, 362,
                 363, and 507 of the Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-
                 2 for Interim and Final Orders (A) Authorizing Debtors to Use Cash Collateral, (B)
                 Granting Adequate Protection to Prepetition Secured Parties, (C) Modifying the
                 Automatic Stay, and (D) Scheduling a Final Hearing [Filed: 9/22/23] (Docket No.
                 52)

        C.       Notice of Filing Final Order: (I) Authorizing the Use of Cash Collateral, (II)
                 Granting Adequate Protection to Prepetition Secured Parties, and (III)
                 Granting Related Relief [Filed: 10/27/2023] (Docket No. 301)

        D.       Notice of Filing Revised Final Order: (I) Authorizing the Use of Cash
                 Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,
                 and (III) Granting Related Relief [Filed: 10/30/2023] (Docket No. 311)

        Status: This matter will go forward.




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8.      Debtors' Motion for Entry of an Order (I) Granting Conditional Approval of the Adequacy
        of Disclosures in the Combined Disclosure Statement and Plan; (II) Scheduling a
        Combined Confirmation Hearing and Setting Deadlines Related Thereto; (III) Approving
        Solicitation Packages and Procedures; (IV) Approving Form of Ballots; and (V) Granting
        Related Relief [Filed: 9/28/23] (Docket No. 77)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:

        A.       Objection of the Official Committee of Unsecured Creditors to Debtors' Motion for
                 Entry of an Order (I) Granting Conditional Approval of the Adequacy of
                 Disclosures in the Combined Disclosure Statement and Plan; (II) Scheduling a
                 Combined Confirmation Hearing and Setting Deadlines Related Thereto; (III)
                 Approving Solicitation Packages and Procedures; (IV) Approving Form of Ballots;
                 and (V) Granting Related Relief [Filed: 10/25/23] (Docket No. 269)

        B.       Limited Objection to: (I) The Debtors' Cash Collateral Motion and (II) The Debtors'
                 Combined Disclosure Statement and Plan [Filed 10/27/23] (Docket No. 285)

        C.       Informal comments from the Office of the United States Trustee

        D.       Statement and Reservation of Rights of Ad Hoc Committee of Healthcare
                 Providers Regarding Conditional Approval of Disclosure Statement [Filed:
                 10/30/23] (Docket No. 310)

        Related Documents:

        A.       [Proposed] Order (I) Granting Conditional Approval of the Adequacy of
                 Disclosures in the Combined Disclosure Statement and Plan; (II) Scheduling a
                 Combined Confirmation Hearing and Setting Deadlines Related Thereto; (III)
                 Approving Solicitation Packages and Procedures; (IV) Approving Form of Ballots;
                 and (V) Granting Related Relief [Filed: 9/28/23] (Docket No. 77, Exhibit A)

        B.       Combined Disclosure Statement and Plan of Liquidation of American Physician
                 Partners, LLC and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code
                 [Filed: 9/19/23] (Docket No. 17)

        C.       Notice of Filing of Exhibit B to Combined Disclosure Statement and Plan of
                 Liquidation of American Physician Partners, LLC and It's Affiliated Debtors Under
                 Chapter 11 of the Bankruptcy Code [Filed: 10/23/23] (Docket No. 260)

        D.       Amended Combined Disclosure Statement and Plan of Liquidation of
                 American Physician Partners, LLC and Its Affiliated Debtors Under Chapter
                 11 of the Bankruptcy Code [Filed: 10/30/2023] (Docket No. 303)


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        E.       Notice of Filing of Blackline of Amended Combined Disclosure Statement and
                 Plan of Liquidation [Filed: 10/30/2023] (Docket No. 304)

        Status: This matter will go forward.

9.      Debtors’ Motion for Entry of Interim and Final Orders Authorizing the Debtors to (A)
        Continue Operating Cash Management System, (B) Honor Certain Prepetition Obligations
        Related Thereto, (C) Maintain Existing Business Forms, and (D) Granting Related Relief
        [Filed: 9/19/23] (Docket No. 6)

        [Proposed] Response Deadline: October 31, 2023 at 11:00 a.m. (ET)

        Responses Received:

        A.       United States Trustee’s Objection to Debtors’ Motion for Entry of Interim and Final
                 Orders Authorizing the Debtors to (A) Continue Operating Cash Management
                 System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
                 Existing Business Forms, and (D) Granting Related Relief and Cross-Motion to
                 Compel Compliance With Section 345(b) of the Bankruptcy Code [Filed: 10/26/23]
                 (Docket No. 281)

        Related Documents:

        A.        [Signed] Interim Order (I) Authorizing the Debtors to (A) Continue Operating
                 Cash Management System, (B) Honor Certain Prepetition Obligations Relating
                 Thereto, (C) Maintain Existing Business Forms, (II) Scheduling a Final Hearing,
                 and (III) Granting Related Relief [Filed: 9/21/23] (Docket No. 43)

        B.       [Signed] Second Interim Order (I) Authorizing the Debtors to (A) Continue
                 Operating Cash Management System, (B) Honor Certain Prepetition Obligations
                 Relating Thereto, (C) Maintain Existing Business Forms, (II) Scheduling a Final
                 Hearing, and (III) Granting Related Relief [Filed: 10/16/23] (Docket No. 247)

        C.       Motion to Shorten Notice of United States Trustee’s Cross-Motion to Compel
                 Compliance with Section 345(b) of the Bankruptcy Code [Filed: 10/26/23] (Docket
                 No. 282)

                 i.          [Proposed] Order Granting Motion of the United States Trustee to Shorten
                             Notice [Filed: 10/26/23] (Docket No. 282, Exhibit A)

        D.       Supplemental Declaration of John C. DiDonato in Support of Debtors’ Motion
                 for Entry of Interim and Final Orders Authorizing the Debtors to (A)
                 Continue Operating Cash Management System, (B) Honor Certain
                 Prepetition Obligations Related Thereto, (C) Maintain Existing Business
                 Forms, and (D) Granting Related Relief [Filed: 10/30/23] (Docket No. 305)

        Status: This matter will go forward.


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10.     Debtors’ First Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
        9/19/23] (Docket No. 14)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:

        A.       Limited Objection and Reservation of Rights Regarding Debtors’ Motion For Entry
                 of an Order (I) Authorizing the Rejection of Certain Executory Contracts, Each
                 Effective as of the Petition Date, (II) Granting a Limited Waiver of Bankruptcy
                 Rule 6006(f)(6), and (III) Granting Related Relief [Filed: 10/11/23] (Docket No.
                 106)

        B.       Omnibus Limited Objection of the Official Committee of Unsecured Creditors to
                 Debtors’ Omnibus Rejection Motions [Filed: 10/24/23] (Docket No. 264)

        Replies Received:

        A.       Debtors’ Reply In Support of First Through Sixth Omnibus Rejection Motions
                 [Filed: 10/26/23] (Docket No. 279)

        Related Documents:

        A.       [Proposed] First Omnibus Order (I) Authorizing the Rejection of Certain Executory
                 Contracts, Each Effective as of the Petition Date, (II) Granting a Limited Waiver
                 of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed: 9/19/23]
                 (Docket No. 14, Exhibit A)

        B.       Notice of Hearing on Debtors’ First Omnibus Motion Seeking Entry of an Order
                 (I) Authorizing the Rejection of Certain Executory Contracts, Each Effective as of
                 the Petition Date, (II) Granting a Limited Waiver of Bankruptcy Rule 6006(f)(6),
                 and (III) Granting Related Relief [Filed: 9/22/23] (Docket No. 60)

        C.       Certification of Counsel Regarding First Omnibus Order (I) Authorizing the
                 Rejection of Certain Executory Contracts, Each Effective as of the Petition
                 Date, (II) Granting a Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III)
                 Granting Related Relief [Filed: 10/30/23] (Docket No. 314)




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        Status: This matter has been resolved. The Debtors have filed a certification of
        counsel with a revised order and respectfully request entry of the revised order.

11.     Debtors’ Second Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
        9/22/23] (Docket No. 61)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:

        A.       Omnibus Limited Objection of the Official Committee of Unsecured Creditors to
                 Debtors’ Omnibus Rejection Motions [Filed: 10/24/23] (Docket No. 264)

        Replies Received:

        A.       Debtors’ Reply In Support of First Through Sixth Omnibus Rejection Motions
                 [Filed: 10/26/23] (Docket No. 279)

        Related Documents:

        A.       [Proposed] Second Omnibus Order (I) Authorizing the Rejection of Certain
                 Executory Contracts, Each Effective as of the Petition Date, (II) Granting a Limited
                 Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
                 9/22/23] (Docket No. 61, Exhibit A)

        B.       Certification of Counsel Regarding Second Omnibus Order (I) Authorizing
                 the Rejection of Certain Executory Contracts, Each Effective as of the Petition
                 Date, (II) Granting a Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III)
                 Granting Related Relief [Filed: 10/30/23] (Docket No. 307)

        Status: This matter has been resolved. The Debtors have filed a certification of
        counsel with a revised order and respectfully request entry of the revised order.

12.     Debtors’ Third Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
        9/22/23] (Docket No. 62)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:



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        A.       Omnibus Limited Objection of the Official Committee of Unsecured Creditors to
                 Debtors’ Omnibus Rejection Motions [Filed: 10/24/23] (Docket No. 264)

        Replies Received:

        A.       Debtors’ Reply In Support of First Through Sixth Omnibus Rejection Motions
                 [Filed: 10/26/23] (Docket No. 279)

        Related Documents:

        A.       [Proposed] Third Omnibus Order (I) Authorizing the Rejection of Certain
                 Executory Contracts, Each Effective as of the Petition Date, (II) Granting a Limited
                 Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
                 9/22/23] (Docket No. 62, Exhibit A)

        B.       Certification of Counsel Regarding Third Omnibus Order (I) Authorizing the
                 Rejection of Certain Executory Contracts, Each Effective as of the Petition
                 Date, and (II) Granting Related Relief [Filed: 10/30/23] (Docket No. 308)

        Status: This matter has been resolved. The Debtors have filed a certification of
        counsel with a revised order and respectfully request entry of the revised order.

13.     Debtors’ Fourth Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
        9/22/23] (Docket No. 63)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:

        A.       Omnibus Limited Objection of the Official Committee of Unsecured Creditors to
                 Debtors’ Omnibus Rejection Motions [Filed: 10/24/23] (Docket No. 264)

        Related Documents:

        A.       [Proposed] Fourth Omnibus Order (I) Authorizing the Rejection of Certain
                 Executory Contracts, Each Effective as of the Petition Date, (II) Granting a Limited
                 Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
                 9/22/23] (Docket No. 63, Exhibit A)

        Replies Received:

        A.       Debtors’ Reply In Support of First Through Sixth Omnibus Rejection Motions
                 [Filed: 10/26/23] (Docket No. 279)



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        B.       Certification of Counsel Regarding Fourth Omnibus Order (I) Authorizing
                 the Rejection of Certain Executory Contracts, Each Effective as of the Petition
                 Date, and (II) Granting Related Relief [Filed: 10/30/23] (Docket No. 312)

        Status: This matter has been resolved. The Debtors have filed a certification of
        counsel with a revised order and respectfully request entry of the revised order.

14.     Debtors’ Fifth Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
        9/26/23] (Docket No. 65)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:

        A.       Omnibus Limited Objection of the Official Committee of Unsecured Creditors to
                 Debtors’ Omnibus Rejection Motions [Filed: 10/24/23] (Docket No. 264)

        Replies Received:

        A.       Debtors’ Reply In Support of First Through Sixth Omnibus Rejection Motions
                 [Filed: 10/26/23] (Docket No. 279)

        Related Documents:

        A.       [Proposed] Fifth Omnibus Order (I) Authorizing the Rejection of Certain Executory
                 Contracts, Each Effective as of the Petition Date, (II) Granting a Limited Waiver
                 of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed: 9/26/23]
                 (Docket No. 65, Exhibit A)

        B.       Certification of Counsel Regarding Fifth Omnibus Order (I) Authorizing the
                 Rejection of Certain Unexpired Leases and Executory Contracts, Effective as
                 of the Petition Date, and (II) Granting Related Relief [Filed: 10/30/23] (Docket
                 No. 309)

        Status: This matter has been resolved. The Debtors have filed a certification of
        counsel with a revised order and respectfully request entry of the revised order.




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15.     Debtors’ Sixth Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
        9/27/23] (Docket No. 73)

        Response Deadline: October 11, 2023 at 4:00 p.m. (ET) (extended until October 24, 2023
        at 4:00 p.m. (ET) for the Office of the United States Trustee, the Official Committee of
        Unsecured Creditors and the Ad Hoc Committee)

        Responses Received:

        A.       Omnibus Limited Objection of the Official Committee of Unsecured Creditors to
                 Debtors’ Omnibus Rejection Motions [Filed: 10/24/23] (Docket No. 264)

        Replies Received:

        A.       Debtors’ Reply In Support of First Through Sixth Omnibus Rejection Motions
                 [Filed: 10/26/23] (Docket No. 279)

        Related Documents:

        A.       [Proposed] Sixth Omnibus Order (I) Authorizing the Rejection of Certain
                 Executory Contracts, Each Effective as of the Petition Date, (II) Granting a Limited
                 Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed:
                 9/27/23] (Docket No. 73, Exhibit A)

        B.       Certification of Counsel Regarding Sixth Omnibus Order (I) Authorizing the
                 Rejection of Certain Unexpired Leases and Executory Contracts, Effective as
                 of the Petition Date, and (II) Granting Related Relief [Filed: 10/30/23] (Docket
                 No. 313)

        Status: This matter has been resolved. The Debtors have filed a certification of
        counsel with a revised order and respectfully request entry of the revised order.

16.     Motion of Aumkar Renavikar for Relief from the Automatic Stay Under Section 362 of the
        Bankruptcy Code [Filed: 10/6/23] (Docket No. 97)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET)

        Responses Received:

        A.       Debtors’ Omnibus Objection to Various Motions for Relief From the Automatic
                 Stay [Filed: 10/24/23] (Docket No. 263)

        Related Documents:

        A.       Notice of Motion of Aumkar Renavikar for Relief From the Automatic Stay Under
                 Section 362 of the Bankruptcy Code [Filed: 10/6/23] [Docket No. 99]


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        B.       Re-Notice of Motion for Aumkar Renavikar for Relief From the Automatic Stay
                 Under Section 362 of the Bankruptcy Code [Filed: 10/12/23] (Docket No. 116)

        C.       [Proposed] Order Granting Relief From the Automatic Stay [Filed: 10/24/23]
                 (Docket No. 262)

        Status: This matter will go forward.

17.     Motion for Relief From Stay [Filed by Chaya Hendrie] [Filed: 10/12/23] (Docket No. 114)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET)

        Responses Received:

        A.       Debtors’ Omnibus Objection to Various Motions for Relief From the Automatic
                 Stay [Filed: 10/24/23] (Docket No. 263)

        Related Documents: None.

        Status: This matter will go forward.

18.     Motion of Larry Ricky Kincer for Relief From Stay to the Extent of Liability Insurance
        Proceeds [Filed: 10/16/23] (Docket No. 228)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET)

        Responses Received:

        A.       Debtors’ Omnibus Objection to Various Motions for Relief From the Automatic
                 Stay [Filed: 10/24/23] (Docket No. 263)

        Replies Received:

        A.       Reply of Larry Ricky Kincer to Debtors’ Omnibus Objection to Various Motions
                 for Relief From the Automatic Stay [Filed: 10/26/23] (Docket No. 278)

        Related Documents:

        A.       [Proposed] Order Granting Relief From the Automatic Stay [Filed: 10/16/23]
                 (Docket No. 228)

        Status: This matter will go forward.

19.     Motion for Relief from the Automatic Stay [Filed by Maria Morales Individually and as
        Special Administrator of the Estates of Twin A and Twin B, Deceased] [Filed: 10/16/23]
        (Docket No. 235)

        Response Deadline: October 24, 2023 at 4:00 p.m. (ET)


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        Responses Received:

        A.       Debtors’ Omnibus Objection to Various Motions for Relief From the Automatic
                 Stay [Filed: 10/24/23] (Docket No. 263)

        Related Documents:

        A.       [Proposed] Order [Filed: 10/16/23] (Docket No. 235)

        B.       [Proposed] Order [Filed: 10/16/23] (Docket No. 237)

        Status: This matter will go forward.

Dated: October 30, 2023                        PACHULSKI STANG ZIEHL & JONES LLP


                                               /s/ Laura Davis Jones
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